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UNITED STATES DISTRICT COURT
                                                                                                        1.12.21
SOUTHERN DISTRICT OF NEW YORK


  United States of America,

                   –v–
                                                                           98-cr-618 (AJN)
  Robert Hallal,
                                                                                ORDER
                           Defendant.



ALISON J. NATHAN, District Judge:

        This case was re-assigned to the Undersigned on January 8, 2021. Dkt. No. 25. The

Court is in receipt of Defendant Robert Hallal’s pro se motion for compassionate release. Dkt.

No. 24. The Court hereby orders that pursuant to the Criminal Justice Act, 18 U.S.C. § 3006A, and the

discretion of the Court, the CJA Clerk is respectfully directed to appoint counsel for the Defendant for the

purpose of supplementing Defendant’s compassionate release motion. Once counsel is appointed, he or

she shall file a notice of appearance, meet and confer with the Government, and propose a briefing

schedule on the Defendant’s motion for compassionate release.

        The Government is respectfully directed to serve a copy of this Order on the Defendant and to file

proof of service on the public docket.

        SO ORDERED.

 Dated: January 12, 2021
        New York, New York
                                                      ____________________________________
                                                                ALISON J. NATHAN
                                                              United States District Judge
